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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JU?€ 15 PM la 05

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, §
V_ § Case No. 02-20165-DfP
ALVIN [RWIN MOSS, et al., §
Defendants. §
)

 

ORDER AFFIRMING IN PART AND MODIFYING IN PART THE ORDERS OF THE
MAGISTRATE JUDGE GRANTING IN PART DEFENDANTS’ MOTION TO COMPEL
DISCOVERY AND PRODUCTION OF ITEMS PERTAINING TO TOLLING OF
STATUTE OF LIMITATIONS

 

Before the Court are the objections of the United States (“the Government”) and Alvin lrwin
Moss, Geoffrey L. Feldman, Stacy Layne Beavers, Michael Elliot Cole, and Sherri-Lee Doreen Cave
(“Defendants”) to the Magistrate Judge’s Order Granting in Part and Denying in Part Defendants’
Motion to Compel (“May 5, 2005 Order”) and Order Gra.nting in Part Defendants’ Renewed Motion
to Compel Production of Items Pertaining to Tolling of the Statute of Limitations (“May 12, 2005
Order”). On June l, 2005, a hearing was conducted as to the parties’ objections. For the following
reasons, the Court AFFIRMS in part and MODIFIES in part the Magistrate Judge’s Orders.
I. PROCEDURAL BACKGROUND

Defendants filed a motion to compel discovery on November 5, 2004. This Court referred
the matter to the Magistrate Judge for a determination On May 5, 2005, the Magistrate Judge
granted in part and denied in part Defendants’ motion to compel discovery. On May 2, 2005,

Defendants filed a renewed motion to compel production of certain items pertaining to the tolling

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of the statute of limitations The Court referred the matter to the Magistrate Judge. On May 12,
2005, the Magistrate Judge granted in part and denied in part Defendants’ motion.

On May 16, 2005, the Government filed its objections to the Magistrate Judge’s May 5, 2005
Order. On May 19, 2005, Defendants filed their objections to the Magistrate Judge’s May 5 and 12,
2005 Orders. On J unc l, 2005, the Court held a hearing at Which the parties argued their respective
positions conceming the Magistrate Judge’s Orders.

II. ANALYSIS

The Government objects to the portion of the Magistrate Judge’s May 5, 2005 Order entitled
“Other Materials.” The material addressed by the Magistrate Judge in this section includes “all U.S.
Postal Service complaints filed against [entities related to Defendants], copies of all U.S. Customs
searches and seizures of certain lottery materials, U.S. Postal Service notifications of seizures to the
Barbados Postmaster, a copy of` the Barbados Postmaster’s notification to Fred Collier, copies of` all
Barbados Customs’ seizures related to the case, and copies of all documents concerning the U.S.
Customs’ seizures of international shipments forwarded through commercial can'iers.”

With respect to all of the requests except those related to the copy of Barbados Postmaster’s
notification to Fred Collier and the copies of all documents concerning U.S. customs seizures of
international shipments, the Govemment agrees that it will provide Defendants with the documents
it obtained during its investigation which are in its custody and control.l While consenting during
the hearing, the Government did not assert this position in its response to Defendants’ motion to

compel. Defendants contend that the Government should be compelled to produce all such

 

lPer the Government’s representation at the June l, 2005 hearing, the Govemment no
longer objects to the portion of` the May 5, 2005 Order related to the notification to Fred Collier.

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materials, whether held by the prosecution or by another federal agency. Other courts have held that
items held by other federal agencies working in conjunction with prosecution are subject to
production and are deemed to be in the custody and control of the prosecution §§ United States
v. Jensen, 608 F.2d 1349, 1357 (10th Cir. 1979) (discussing the Govemment’s duty to produce items
for discovery when inter-agency interaction is involved and stating that the Govemment’s duty
“normally can be discharged ‘by searching, or requesting that search be made, of the files of
administrative or police investigations of the defendant, in addition to his own files.”’); United States
V. Bryant, 439 F.2d 642 (D.C. Cir. 1971), Overruled on other grounds, In re Sealed Case, 99 F.3d
l 175 (D.C. Cir. 1996). The Court, therefore, affirms the Magistrate Judge’s ruling as to these issues
with the following modifications The Govemment shall promptly search and make requests for all
said items in the care and custody of federal agencies other than the prosecution’s office and make
them available to Defendants The Govemment shall also make all efforts to obtain the requested
items in the possession of the Barbados authorities Furthermore, the Govemment will apprize
Defendants within twenty five days of the entry of this order of any items that it is unable to obtain,
either because they are in the control of a foreign government or because they no longer exist.
With respect to the Govemment’s objection as to the copies of all documents concerning the
United States Customs’ seizures of international shipments forwarded through commercial carriers,
the Govemment asserts that the Magistrate Judge’s May 5, 2005 Ordcr is overly broad because it
does not specify a time period and includes material that may be totally unrelated to any matter
concerning this case. Additionally, the Govermnent asserts that these records are exempted by Fed.
R. Crim. P. 16. The Govemment failed to raise these arguments in its response to Defendants’

motion to compel. As such, the Magistrate Judge was not given the opportunity to address the

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Govemment’s concems. For the sake of judicial economy, however, the Court will address the
Govemment’s concerns.

First, with respect to the scope of the material, the Court construes Defendants’ request and
the Magistrate Judge’s Order to encompass only those materials that relate to these Defendants and
this case. Likewise, the Court construes the request to encompass the time period of the
investigation and case preparation of the instant matter. As to the third argument, Rule 16 provides
in pertinent part:

(2) lnformation Not Subj ect to Disclosure. Except as Rule l6(a)(l) provides

otherwise, this rule does not authorize the discovery or inspection of reports,

memoranda, or other internal government documents made by an attorney for the
government or other government agent in connection with investigating or
prosecuting the case. Nor does this rule authorize the discovery or inspection of

statements made by prospective government witnesses except as_provided in 18

U.S.C. § 3500.

Fed. R. Crim. P. l6(a)(2). Courts have recognized that search warrants and affidavits are not
exempted by Fed. R. Crim. P. l6. M United States v. Politi, 334 F. Supp. 1318, 1320 (S.D.N.Y.
1971) (noting that the Govemment agreed that search warrants and affidavits should be produced).
As such, to the extent that Defendants seek the production of search warrants or affidavits related
to United States Customs agents’ seizures of international Shipments, the Court finds that the
Govemment shall produce these documents per the Magistrate Judge’s May 5, 2005 Order. With
respect to any reports or memoranda produced by the Govemment or the United States Customs and
related to this case, the Court concludes, however, that the Govemment is not required to produce
those items, pursuant to Fed. R. Crim. P. 16.

Defendants assert numerous objections to the Magistrate Judge’s Orders. Defendants’

objections include the Magistrate Judge’s decision denying Defendants’ request for the production

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of: 1) any written or recorded statements of Defendants including all law enforcement reports, notes,
and other recordings within the possession, custody or control of the Govemment; 2) the
Govemment’s witness list; 3) the Government’s exhibit list; 4) all Mmaterial; 5) material related
to the tolling of the statute of limitations; 6) grand jury materials; and 7) evidence related to
sentencing The Court Will address each objection in tum.

A. Rule 16 Materials

Defendants sought to compel the production of all written and recorded statements made by
Defendants to third parties, e.g., inforrnants, accomplices co-conspirators, witnesses, and tipsters,
which are in the Govemment’s possession and control. The Magistrate Judge denied the request
finding that Fed. R. Crim. P. 16 “does not authorize discovery of statements made by co-
conspirators co-defendants, or witnesses.” May 5, 2005 Order at 5 (quoting United States v.
Santiago, 174 F. Supp. 2d 16, 38 (S.D.N.Y. 2001)). Defendants cite several older cases for the
proposition that other courts have granted requests for production of these type of statements
Although some courts may have granted such requests, other courts in more recent years have held
that Rule 16 does not require the production of such material. _S_e_e In re United States, 834 F.2d 283,

285 (2d Cir. 1987); United States v. Fischbach & Moore Inc., 576 F. Supp. 1384, 1390 (W.D. Pa.

 

1983). The Court finds that the Magistrate Judge’s findings are not clearly erroneous Accordingly,
the Court affirms the Magistrate Judge’s ruling as to the Rule 16 materials

B. Witness List

Defendants next object to the Magistrate Judge’s denial of their request to compel the
Govemment to produce its trial witness list, including the address and telephone numbers of the

witnesses The United States Court of Appeals has held that defendants in non-capital cases are not

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entitled to know who will testify for the Govemment in advance of trial. See. gg, United States v.
T_u_i;_n§r, 91 Fed. Appx. 489 (6th Cir. 2004). Relying on these cases, the Magistrate Judge denied
Defendants’ request. The Sixth Circuit has recognized, however, that although “[i]t is well
recognized that defendants cannot obtain lists of prosecution witnesses as a matter of right, [] the
district court has discretion to order the prosecution to produce it.” United States v. Kendricks, 623
F.2d l 165, 1 168 (6th Cir. 1980) (citations omitted). The Court agrees generally with the Magistrate
Judge’s conclusion Given the complexity and duration of this case, however, the Court finds that
it is in the interest of judicial economy to require the Govemment to provide Defendants with a
witness list 30 days before trial. The list shall include the addresses of the witnesses
C. Exhibit List

Defendants object to the Magistrate Judge’ s refusal to compel the Govemment to produce
a list of the exhibits on which it intends to rely. Relying on three cases, the Magistrate Judge found
that Rule 16 does not require the Govemment to produce such a list. gee May 5, 2005 Order at 7
(citing United States v. Jordan, 316 F.3d 1215, 1253 (1 lth Cir. 2003); United States v. Scrushv,
2004 WL 483264, at *3 (N.D. Ala. Mar. 3, 2004); United States v. Kaplan, 2003 WL 22880914, at
*21 (S.D.N.Y. Dec. 5, 2003)). In discussing whether a plaintiff should produce such a list, however,
other courts have determined that in complex cases that have voluminous documents being
produced, the plaintiff should produce an exhibit list prior to trial. W, gg, United States v. Upton,
856 F. Supp. 727, 748 (E.D.N.Y. 1994); United States v. Poindexter. 727 F. Supp. 1470 (D.D.C.
1989); United States v. Turkish, 458 F.Supp. 874 (S.D.N.Y. 1978). As the Court in th_on_
explained, “[t]he purpose of requiring the government to identify which documents it will rely upon

at trial in a situation such as this--where there are thousands ofdocuments--is to allow the defendant

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to adequately prepare his or her defense.” Qp_t@, 856 F. Supp. at 748. ln the instant case, there is
no question that the discoverable material is massive. Moreover, the trial is less than three months
away. Accordingly, the Court finds that the Govemment should provide Defendants with an exhibit
list at least forty five days prior to the scheduled trial date.

D. Brady Material

Defendants assert that the Court should compel Defendants to produce all My, Qigl_iQ, and
impeachment materials Defendants made general and specific requests for Lt_dy material. The
Magistrate Judge denied Defendants’ motion to compel because the Govemment stated that it was
aware of its Ma_dy obligations and would comply

As the Magistrate Judge noted, “while the Brady rule imposes a general obligation upon the
government to disclose evidence that is favorable to the accused and material to guilt or punishment,
the government typicallyis the sole judge of what evidence in its possession is subject to disclosure.”
May 5, 2005 Order at 11 (quoting United States v. Presser, 844 F.2d 1275, 1281 (6th Cir. 1988)
(citation omitted). As such, the Govemment is obligated to produce all evidence in its control that
is favorable to Defendants and material to their guilt or punishment

Defendants contend that the Govemment has not produced any 13er material. For this
reason, the Court orders the Govemment to produce any such material within thirty days of the entry
of this order. The Govemment is typically the judge of what evidence is subject to disclosure,
however, as Defendants point out, the Indictment indicates that the Govemment may possess
evidence that would show that some individuals did receive lottery winnings and confirmations
Therefore, it is in the interest of judicial economy for the Court to specifically direct the Govemment

to produce any such materials that it has in its possession and control. With respect to the remainder

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of Defendants’ specific Br_ady and leio requests, the Court will not specifically compel the
Govemment to turn over such evidence, as the Court believes that the Govemment understands the
implications that its failure to turn over any such evidence in its possession will have, and expects
that the Govemment understands the Court’ s intent. Accordingly, the Court directs the Govemment
to produce all B_M and lei_o material in its control and possession within thirty days of the entry
of this order, including that material specifically addressed by the Court.

E. Statute of Limitations Materials

Defendants ask the Court to compel the Govemment to produce information relating to
interviews and bank records in Barbados and measures taken by the Govemment to secure final
action. The Magistrate Judge denied this request, finding that the determination of the tolling of the
statute of limitations is not defendant-specific w May 5, 2005 Order at 19. Title 18, section 3292
of the United States Code focuses on the offense, not the offender. United States v. Neill, 925 F.
Supp. 831, 832 (D.D.C. 1996). Thus, the tolling of the statute of limitations is not defendant-
specific. Li_. at 833. Defendants have not asserted that the Magistrate Court’s ruling was erroneous,
only that they would, in effect, like to have this material Given that Defendants have not
established that the Magistrate Judge’s ruling was incorrect1 the Court affirms the Magistrate Judge’ s
ruling as to Defendants’ request for production of inventories and information relating to interview
and bank records in Barbados

Defendants further ask the Court to clarify the Magistrate Judge’s ruling with respect to
communications between the United States and the Barbados govemments Defendants requested
production of all communications between the governments of the United States and Barbados The

Magistrate Judge ruled in favor of Defendants, compelling production in one part of the order of all

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“communications” and in another part of the order of all “correspondence." The Court reads the
May 5, 2005 Order to require the Govemment to produce all communications between the
governments of the United States and Barbados related to the tolling of the statute of limitations

F. ML`QLS.

Defendants next assert that the Court should compel the Govemment to produce grand jury
materials including 1) a list of individuals present (except for the grand jurors) during the
presentation of the evidence in this case; 2) a list of all individuals authorized under Fed. R. Crim.
P. 6(e) to receive information generated during the grand jury proceedings; 3) all grand jury records
relating to the grand jury’s authorization of subpoenas for witnesses and documents; 4) all votes by
the grand jury rejecting the issuance of any subpoenas; 5) all authorizations by the grand jury
directing that an individual receive documents as an agent of the grand jury; 6) the exact method by
which information was transferred from one grand jury to another grand jury for consideration in the
matter; and 7) the composition of the grand juries that considered evidence relating to this case. The
Magistrate Judge granted Defendants’ motion to compel the production of information as to the
location of each grand jury that considered evidence in this case and as to the dates on which each
grand j ury met to investigate the case. The Magistrate Judge denied, however, the motion to compel
the production of the other seven categories related to grand jury materials

The Magistrate Judge determined that Defendants failed to establish a particularized need
for these grand jury materials May 5, 2005 Order at 22. Before a defendant may gain pretrial access
to grand jury materials, he or she must establish a particularized need for the materials Md
States v. Tennyson, 88 F.R.D. 1 19, 121 (E.D. Tenn.1980) (citations omitted). Defendants assert that

they need this material to establish that there was no grand jury investigating the offense when the

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statute of limitations was tolled, as required by 18 U.S.C. § 3292. The Court agrees With the
Magistrate Judge’s determination that Defendants have not established a particularized need for this
information The material that the Magistrate Judge ordered the Govemment to produce is sufficient
to meet Defendants’ need for grand jury information as to the Govemment’S compliance with §
3292. Accordingly, the Court affirms the Magistrate Judge’s determination as to the grand jury
material

G. Sentencing Materials

Defendants’ final objection is to the Magistrate Judge’s finding that Defendants were not
entitled to any evidence upon which the Govemment intends to rely for sentencing The Magistrate
Judge reasoned that a defendant is not entitled to advance notice of the specific evidence that the
Govemment will use at sentencing May 5, 2005 Order at 23 (citing Gray v. Netherland, 518 U.S.
152, 166-70 (1996)). Defendants contend that Blakely v. Washington, 124 S.Ct. 2531 (2004), and
United States v. Booker, 125 S.Ct. 738 (2005), require the production of such evidence. Although
both of these cases discuss a defendant’s right to a jury determination of sentencing factors, neither
of these cases mandates the production of evidence that the Govemment intends to use at sentencing.
Accordingly, the Court affirms the Magistrate Judge’s ruling as to the production of sentencing

materials

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III. CONCLUSION
For the aforementioned reasons, the Court AFFIRMS in part and MODIFIES in part the

Magistrate Judge’s May 5 , 2005 Order and May 12, 2005 Order.

IT IS SO ORDERED this z j M day of June, 2005.

     

ERNICE BO EDONALD
NITED STATES ])ISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 538 in
case 2:02-CR-20165 was distributed by fax, mail, or direct printing on
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